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 3
                                                                         The Honorable Thomas Zilly
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 7
                            UNITED STATES DISTRICT COURT
 8                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
     DERWIN ROBINSON                                    NO. 2:21-cv-00473-TSZ
10
                            Plaintiff,                 STIPULATED MOTION AND ORDER
11
                                                       DISMISSING ALL REMAINING
12            v.                                       DEFENDANTS AND CLAIMS

13   DEPARTMENT OF CORRECTIONS; and
     individually, ROSIE BRISTER, ROBERT
14   HERRERA, JULIE JOHNSON, ERIN
     RYLANDS, MICHAEL SCHEMNITZER.
                                                       Noted on Motion Calendar: 2/15/2022
15
                            Defendants.
16

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18
                                                   STIPULATION
19
20           On February 10, 2022, all remaining parties to this litigation entered a settlement agreement.

21   Therefore, Department of Corrections and all individual defendants, together with Plaintiff,

22   stipulate that the entire case should be dismissed with prejudice and without costs or attorney fees.
23
     Specifically, Tyler Karvonen, Elisa Kumar, Erin Westfall, and Dwight Hastings were omitted from
24
     Plaintiff’s First Amended Complaint for Damages (Dkt. #44), and Rosie Brister, Robert Herrera,
25

26
      STIPULATION AND ORDER OF DISMISSAL                               LAW OFFICE OF JACKSON MILLIKAN
                                                                                  2540 Kaiser Rd.
                                                                                Olympia, WA 98502
                                                                             Telephone: (360) 866-3556
                                                                             www.MillikanLawFirm.com


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 1   Julie Johnson, Erin Rylands, and Michael Schemnitzer may also be dismissed. Upon entry of the
 2   attached Order, the case may be closed.
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 4
             STIPULATED AND AGREED TO this 14th day of February, 2022.
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 7

 8   s/ Jackson Millikan                              /s/ Bryan Williams
     Jackson Millikan, WSBA #47786                    Bryan R. Williams, WSBA #47178
 9   Millikan Law Firm                                Assistant Attorney General
     Attorney for Plaintiff                           Attorney for State Defendants
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12   (Order on Following Page)
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      STIPULATION AND ORDER OF DISMISSAL                         LAW OFFICE OF JACKSON MILLIKAN
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 1                                               ORDER
 2           THIS MATTER having come on regularly for hearing upon the foregoing Stipulation
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     of the Parties hereto, and it appearing to the Court, after being fully advised, that the above-
 4
     entitled case should be dismissed as to all defendants; now, therefore, it is hereby
 5
             ORDERED, ADJUDGED and DECREED that the above-entitled matter is hereby
 6

 7   dismissed with prejudice without costs or attorney’s fees.

 8
 9           ORDERED this _____ day of February, 2022.
10

11
                                                    _____________________________
12                                                  HONORABLE THOMAS S. ZILLY
13

14

15   s/ Jackson Millikan                                   /s/ Bryan Williams
     Jackson Millikan, WSBA #47786                         Bryan R. Williams, WSBA #47178
16   Millikan Law Firm                                     Assistant Attorney General
     Attorney for Plaintiff                                Attorney for State Defendants
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      STIPULATION AND ORDER OF DISMISSAL                               LAW OFFICE OF JACKSON MILLIKAN
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